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   8                              UNITED STATES DISTRICT COURT
   9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    PERFECT 10, INC., a California              CASE NO. 11-CV-0905 H (MDD)
       corporation,
 12                                                PLAINTIFF PERFECT 10, INC.’S
 13                  Plaintiff,                    REQUEST FOR JUDICIAL NOTICE

 14           v.                                   DATE:       September 12, 2011
                                                   TIME:       10:30 a.m.
 15    GIGANEWS, INC.. a Texas                     CTRM:       13
 16    corporation; LIVEWIRE SERVICES,             JUDGE:      Marilyn L. Huff
       INC., a Nevada corporation; and DOES
 17    1 through 100, inclusive,                   Special Briefing Schedule Ordered
 18
                     Defendants.
 19
 20
 21
 22           TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF
 23
       RECORD:
 24
              Plaintiff Perfect 10, Inc. hereby requests that the Court take judicial notice
 25
 26    of the Order filed July 27, 2011 (Doc. No. 16) in Perfect 10, Inc. v. Megaupload
 27
       Limited, et al., Case No. 11cv0191 –IEG (BLM). Attached hereto as Exhibit 1
 28
                                                     1
                                                                                    11cv00905
                            Plaintiff Perfect 10’s Request for Judicial Notice
Case 2:11-cv-07098-AB-JPR Document 37-1 Filed 08/15/11 Page 2 of 2 Page ID #:934




   1   is a true and correct copy of the Order.
   2
   3
   4   Dated: August 15, 2011
                                            KRAUSE KALFAYAN BENINK &
   5                                        SLAVENS, LLP.
   6                                               /s/ Eric J. Benink
                                            By:
   7                                              Eric J. Benink
   8                                              Attorneys for Plaintiff

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                                                                               11cv00905
                          Plaintiff Perfect 10’s Request for Judicial Notice
